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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                           Case No. 19-MJ-6087-MPK

       Plaintiff,
v.

GREGORY ABBOTT et al.,

       Defendants.


              DEFENDANT WILLIAM MCGLASHAN, JR.’S MOTION TO
             PERMIT LIMITED INTERNATIONAL TRAVEL IN APRIL 2019

       1.      On March 12, 2019, Mr. McGlashan appeared in the Northern District of

California on a Complaint and warrant issued by this Court charging him with a single count of

conspiracy to commit mail fraud and honest services mail fraud in violation of 18 U.S.C. § 1349.

       2.      At the initial appearance, U.S. Magistrate Judge Joseph C. Spero issued an Order

setting conditions of release and appearance that included, among other terms, a $1 million

personal appearance bond and surrender of Mr. McGlashan’s passport and other travel

documents.

       3.      Mr. McGlashan has a long-planned family trip scheduled over his children’s

school break in April 2019.

       4.      Mr. McGlashan is contemporaneously filing a Motion to Modify Conditions of

Release and Appearance and a Memorandum in Support of the Motion requesting that this Court

allow Mr. McGlashan to possess his travel documents and to travel internationally (the “Motion

Papers”).

       5.      The Motion Papers set forth relevant facts and law in support of Mr. McGlashan’s

request to be permitted to travel internationally, including for purposes of the above-referenced
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April 2019 trip.

       6.      Independent of the outcome of that motion, Mr. McGlashan respectfully requests

that this court permit him to travel for purposes of the long-planned family trip from April 6

through April 12, 2019.

       7.      Mr. McGlashan will provide any details pertaining to this trip requested by the

U.S. Probation and Pretrial Services Office.

       WHEREFORE, Mr. McGlashan hereby respectfully moves this Court to allow him

access to his passport and any other travel documents for the specific and limited purpose of

traveling for a long-planned family trip from April 6 to April 12, 2019.



Dated: March 27, 2019                                Respectfully submitted,




                                                  /s/ Jack W. Pirozzolo
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                                                  Attorneys for Defendant
                                                  William McGlashan, Jr.




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                          LOCAL RULE 7.1(A)(2) CERTIFICATION

       I, Jack W. Pirozzolo, counsel for the Defendant, hereby certify that I have conferred with

both Allyson Cormier, U.S. Probation Officer, and Eric Rosen, Assistant U.S. Attorney. Ms.

Cormier has informed me that Probation does not oppose travel so long as the Defendant

continues to comply with conditions of release. Mr. Rosen has stated that the Government

opposes all international travel.


                                                   /s/ Jack W. Pirozzolo
                                                Jack W. Pirozzolo




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2019, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).



                                                      /s/ Jack W. Pirozzolo
                                                   Jack W. Pirozzolo




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